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              [ORAL ARGUMENT NOT SCHEDULED]
                               No. 25-5072



          IN THE UNITED STATES COURT OF APPEALS
           FOR THE DISTRICT OF COLUMBIA CIRCUIT


            In re ELON MUSK, in his official capacity, et al.,

                                         Petitioners.



               EMERGENCY MOTION FOR A STAY
          PENDING A RULING ON THE GOVERNMENT’S
           PEITITION FOR A WRIT OF MANDAMUS AND
            AN IMMEDIATE ADMINISTRATIVE STAY




                                      YAAKOV M. ROTH
                                       Acting Assistant Attorney
                                         General, Civil Division
                                      ERIC D. MCARTHUR
                                       Deputy Assistant Attorney
                                         General
                                      MARK R. FREEMAN
                                      GERARD SINZDAK
                                      JOSHUA DOS SANTOS
                                        Attorneys, Appellate Staff
                                        Civil Division, Room 7242
                                        U.S. Department of Justice
                                        950 Pennsylvania Avenue NW
                                        Washington, DC 20530
                                        (202) 514-0718
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      The government respectfully requests that this Court issue a stay of

the district court’s March 12, 2025 discovery order pending this Court’s

review of the government’s accompanying petition for a writ of mandamus,

which asks this Court to quash that order. The district court’s order requires

petitioners to produce the relevant discovery by April 2, 2025 and denied the

government’s request for a stay. Accordingly, the government asks this

Court to rule on this stay motion by March 26, 2025, to provide the

government with time to seek relief from the Supreme Court, if necessary.

The government also requests that the Court issue an immediate

administrative stay of the order and toll the deadline for compliance with the

discovery order until 21 days after the Court decides the government’s stay

motion, so that the Executive Branch will not have to incur the burden of

preparing responses to the plaintiffs’ overbroad and improper discovery

requests. Plaintiffs oppose the mandamus petition and stay motion.

      A stay is warranted here. The government’s accompanying petition for

a writ of mandamus explains the district court’s errors as well as the

irreparable harm and burden on the separation of powers that the discovery

order will cause. In short, the government is likely to prevail on the merits of

its petition for mandamus. The district court’s order permits plaintiffs to
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take sweeping and intrusive discovery into the operations of the Office of the

President, requiring the Chief Executive to produce information detailing

both the substance of the advice provided by his closest advisors and the

process through which that advice was formulated and communicated to the

President and other Executive Branch officials. Separation-of-powers

principles and the “high respect” that courts must afford the President in the

conduct of his constitutional duties, Cheney v. U.S. District Court, 542 U.S.

367, 382 (2004), mandate that such discovery be permitted, if at all, only in

the most exceptional of circumstances.

      No such circumstances exist here. As the government explains in its

petition, discovery is irrelevant to the proper resolution of plaintiffs’ claims,

which present questions of law and which, in any event, plaintiffs lack

standing to bring. At a minimum, the district court should have resolved the

government’s motion to dismiss those claims before deciding whether the

extraordinary discovery it ordered was necessary and the scope of any such

discovery.

      Absent a stay, moreover, the government will be irreparably harmed.

Once the documents are produced, the intrusion upon the autonomy of the

Office of the President and the confidentiality of its communications will have


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occurred and cannot be remedied. Conversely, plaintiffs will not be harmed

if they are prevented from obtaining discovery during the short time it will

take this Court to decide the government’s mandamus petition. As the

district court recognized in denying plaintiffs’ request for a temporary

restraining order, plaintiffs’ complaint fails to identify any harm that they

have experienced or plausibly expect to experience on account of petitioners’

actions, let alone irremediable harm. See Dkt. 29. Given the significant

separation-of-powers concerns that the district court’s order raises and the

absence of any clear need for urgent discovery into the functioning of the

Office of the President, the equities and public interest plainly favor a stay.

      Those same constitutional infirmities also favor an administrative stay

tolling the discovery order’s deadline. As explained in the mandamus

petition, the Supreme Court has already made clear that requiring the

government to assess privileges “line by line” for discovery into the Office of

the President and close presidential advisors is itself a heavy burden. See

Cheney v. U.S. District Court for D.C., 542 U.S. 367, 388 (2004). An

administrative stay tolling the deadline is therefore necessary to avoid the

unnecessary burdens caused by the vague and broadly phrased discovery

order at issue here.


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                               CONCLUSION

      For the foregoing reasons, the Court should grant a stay of the district

court’s discovery order pending this Court’s resolution of the government’s

petition for a writ of mandamus. The government respectfully requests that

the Court rule on this motion by March 26, 2025. And to avoid forcing the

Executive Branch to bear the burden of preparing responses to plaintiffs’

broad discovery requests, the government asks the Court to grant an

immediate administrative stay tolling the district court’s order.

                                           Respectfully submitted,

                                           YAAKOV M. ROTH
                                            Acting Assistant Attorney
                                              General, Civil Division
                                           ERIC D. MCARTHUR
                                            Deputy Assistant Attorney
                                              General
                                           MARK R. FREEMAN
                                           GERARD SINZDAK
                                           /s/ Joshua Dos Santos
                                           JOSHUA DOS SANTOS
                                              Attorneys, Appellate Staff
                                              Civil Division, Room 7242
                                              U.S. Department of Justice
                                              950 Pennsylvania Avenue NW
                                              Washington, DC 20530
                                              (202) 514-0718


MARCH 2025

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                   CERTIFICATE OF COMPLIANCE

     I hereby certify that the foregoing motion complies with the word limit

of Federal Rule of Appellate Procedure 27(d)(2)(A) because the motion

contains 711 words. The motion complies with the typeface and type-style

requirements of Federal Rules of Appellate Procedure 27(d)(1)(E) and

32(a)(5) and (6) because it has been prepared using Microsoft Word 2016 in

proportionally spaced 14-point CenturyExpd BT typeface.

                                            /s/ Joshua Dos Santos
                                           Joshua Dos Santos
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                       CERTIFICATE OF SERVICE

      I hereby certify that on March 18, 2025, I electronically filed the

foregoing motion with the Clerk of the Court for the United States Court of

Appeals for the District of Columbia Circuit by using the appellate CM/ECF

system. Paper copies of the motion will also be delivered to the D.C. Circuit.

I further certify that the motion has been served on counsel by email on

March 18, 2025 and will also be served by first-class mail. Finally, I certify

that the motion has been served on the district court via email on March 18,

2025, and will be delivered by courier on the next business day.



                                             /s/ Joshua Dos Santos
                                            Joshua Dos Santos
